Case 4:05-cr-00039-MW-WCS          Document 51       Filed 05/09/06    Page 1 of 1




                                                                            Page 1 of 1


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                              CASE NO.: 4:05-CR-039-SPM

GIGI BEARD,

           Defendant.
_______________________________/

                    ORDER CONTINUING PLEA HEARING

       THIS CAUSE comes before the Court upon the “Motion to Continue Change

of Plea Hearing” (doc. 50) filed May 8, 2006, in which counsel cites a calendar

conflict with the currently-scheduled date of May 11, 2006 in Gainesville. Defendant

requests that the hearing be placed on the upcoming Tallahassee docket instead.

The Government is in agreement with the motion.

       Finding good cause for the postponement, it is

       ORDERED AND ADJUDGED as follows:

       1.     The motion to continue (doc. 50) is hereby granted.

       2.     The plea hearing is reset for Monday, May 22, 2006 at

       1:30pm at the United States Courthouse in Tallahassee, Florida.

       DONE AND ORDERED this ninth day of May, 2006.


                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
